            Case 1:20-cr-02023-SAB            ECF No. 139          filed 06/14/22    PageID.324 Page 1 of 1
                                                                                                                      FILED IN THE
                                                                                                                  U.S. DISTRICT COURT
                                                                                                            EASTERN DISTRICT OF WASHINGTON

                                             CHARGES AND PENALTIES
                                                                                                             Jun 14, 2022
        CASE NAME: _______________________________
                   Jayme Mechelle Hunt             CASE NO. ______________________
                                                            1:20-CR-2023-SAB SEAN F. MCAVOY, CLERK


                                                  ✔
                                    2
                TOTAL # OF COUNTS: _______     _________FELONY     _________MISDEMEANOR   _________PETTY OFFENSE




Count            Statute                  Description of Offense                                  Penalty


        18 U.S.C. §§ 1153 and    Assault Resulting in Serious Bodily      CAG NMT 10 years; and/or $250,000 fine; up to 3 years
  1
        113(a)(6)                Injury                                   supervised release; a $100 special penalty assessment.



                                 Attempted Tampering with a Witness or    CAG NMT 20 years; and/or $250,000 fine; up to 3 years
  2     18 U.S.C. § 1512(b)(1)
                                 Victim by Corrupt Persuasion             supervised release; a $100 special penalty assessment.
